              Case
B1 (Official Form     11-33044
                  1) (4/10)                   Doc 1 Filed 05/06/11 Entered 05/06/11 08:55:08 Desc Main
                                                        Document
                                     United States Bankruptcy  Court Page 1 of 52
                                          District of Minnesota                           Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Potter, Eric,                                                                                  Potter, Kimberly,
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more than
than one, state all):      6149                                                                  one, state all):           9176
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   1913 3rd Avenue SE                                                                             1913 3rd Avenue SE
   Austin, MN                                                                                     Austin, MN
                                                             ZIP CODE          55912                                                                          ZIP CODE           55912
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Mower                                                                                          Mower
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         4/01/13 and every three years thereafter).
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities
                                                         
 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
              Case
B1 (Official Form     11-33044
                  1) (4/10)                           Doc 1          Filed 05/06/11 Entered 05/06/11 08:55:08                                              Desc Main
                                                                                                                                                                 FORM B1, Page 2
Voluntary Petition                                                     Document NamePage  2 of 52
                                                                                      of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Eric Potter, Kimberly Potter
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /e/ M. Thomas Lenway                                     5/6/2011
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        M. Thomas Lenway                                        259214
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case
B1 (Official Form     11-33044
                  1) (4/10)                         Doc 1           Filed 05/06/11 Entered 05/06/11 08:55:08                                            Desc Main
                                                                                                                                                              FORM B1, Page 3
Voluntary Petition                                                    Document NamePage  3 of 52
                                                                                     of Debtor(s):
  (This page must be completed and filed in every case)                                       Eric Potter, Kimberly Potter

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Eric Potter                                                                           X Not Applicable
       Signature of Debtor        Eric Potter                                                     (Signature of Foreign Representative)

   X s/ Kimberly Potter
       Signature of Joint Debtor Kimberly Potter                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       5/6/2011                                                                                   Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /e/ M. Thomas Lenway                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
     Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
     M. Thomas Lenway Bar No. 259214                                                          U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
     Printed Name of Attorney for Debtor(s) / Bar No.                                         promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Plunkett & Associates, Inc.                                                             before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
     Firm Name
      107 West Oakland Avenue Austin, MN 55912
     Address                                                                                      Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer


      (507) 437-2845                                    (507) 437-8376
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      5/6/2011                                                                                   the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                                Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
   Case 11-33044            Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                          Document     Page 4 of 52
B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                               District of Minnesota


         In re   Eric Potter Kimberly Potter                                        Case No.
                            Debtor(s)                                                                  (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
   Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                         Document     Page 5 of 52
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Eric Potter
                     Eric Potter

Date: 5/6/2011
   Case 11-33044            Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                          Document     Page 6 of 52
B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                               District of Minnesota


         In re   Eric Potter Kimberly Potter                                        Case No.
                            Debtor(s)                                                                  (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
   Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                         Document     Page 7 of 52
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Kimberly Potter
                     Kimberly Potter

Date: 5/6/2011
                Case 11-33044            Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                                                     Desc Main
                                                    Document     Page 8 of 52
B6A (Official Form 6A) (12/07)

In re:   Eric Potter   Kimberly Potter                                                                                  Case No.
                                                                       ,
                                                                                                                                                    (If known)
                                                 Debtors



                                     SCHEDULE A - REAL PROPERTY




                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                        CURRENT VALUE
                                                                                                                         OF DEBTOR'S




                                                                                       OR COMMUNITY
                                                                                                                          INTEREST IN
               DESCRIPTION AND                                                                                        PROPERTY, WITHOUT                    AMOUNT OF
                                                      NATURE OF DEBTOR'S
                 LOCATION OF                                                                                            DEDUCTING ANY                       SECURED
                                                     INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                   CLAIM
                                                                                                                         OR EXEMPTION




 The land referred to is situated in the     Fee Owner                                      J                                     $ 42,000.00                $ 185,644.00
 State of Nevada, County of Clark, City
 of Las Vegas, and is described as
 follows:

 Lot 185 of GREENBRIAR
 TOWNHOUSES UNIT NO. 2, as shown
 by map thereof on file in Book 11 of
 Plats, Page 58, in the Office of the
 County Recorder, Clark County,
 Nevada.

 Assessor's Parcel No. 161-07-315-052

                                                                            Total                              $ 42,000.00
                                                                                                           (Report also on Summary of Schedules.)
                  Case 11-33044                      Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                                   Desc Main
                                                                   Document     Page 9 of 52
B6B (Official Form 6B) (12/07)

In re      Eric Potter        Kimberly Potter                                              ,              Case No.
                                                                                                                                             (If known)
                                                                     Debtors



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                              CURRENT VALUE OF
                                                                                                                                              DEBTOR'S INTEREST




                                                                                                                       OR COMMUNITY
                                                                                                                                              IN PROPERTY, WITH-
                                                                               DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
                                                       NONE
               TYPE OF PROPERTY                                                      OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                                 OR EXEMPTION




  1. Cash on hand                                             Cash                                                         J                                50.00
  2. Checking, savings or other financial                     Wells Fargo checking acct                                    J                               200.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                  Wells Fargo savings acct                                     J                                25.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
  3. Security deposits with public utilities,          X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                         Household Items                                              J                              5,000.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,                   Painting                                                     J                               130.00
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                         Clothing                                                     J                              1,500.00
  7. Furs and jewelry.                                        necklace and earings                                         J                               100.00
        Furs and jewelry.                                     Wedding Rings                                                J                               350.00
  8. Firearms and sports, photographic, and                   Power kites, fishing tackle                                  J                               400.00
     other hobby equipment.
  9. Interests in insurance policies. Name             X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each                  X
     issuer.
 11. Interests in an education IRA as defined          X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other                 Teachers Retirement Fund                                  W                                  670.00
     pension or profit sharing plans. Give
     particulars.
        Interests in IRA, ERISA, Keogh, or other              Teachers Retirement Fund                                  W                                 7,000.00
        pension or profit sharing plans. Give
        particulars.
 13. Stock and interests in incorporated and           X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint                X
     ventures. Itemize.
                  Case 11-33044                     Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                                   Desc Main
                                                                Document     Page 10 of 52
B6B (Official Form 6B) (12/07) -- Cont.

In re      Eric Potter        Kimberly Potter                                             ,             Case No.
                                                                                                                                           (If known)
                                                                  Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                            CURRENT VALUE OF
                                                                                                                                            DEBTOR'S INTEREST




                                                                                                                     OR COMMUNITY
                                                                                                                                            IN PROPERTY, WITH-
                                                                             DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
                                                      NONE
               TYPE OF PROPERTY                                                    OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                               OR EXEMPTION




 15. Government and corporate bonds and               X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                             X
 17. Alimony, maintenance, support, and               X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor            X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,     X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests           X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated                X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                   X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general          X
     intangibles. Give particulars.
 24. Customer lists or other compilations             X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other                2002 Mitsubishi Galant (100,000 miles)                      J                               3,000.00
     vehicles and accessories.
        Automobiles, trucks, trailers, and other             2007 Mitsubishi Endeavor (43,000 miles)                     J                              11,200.00
        vehicles and accessories.
 26. Boats, motors, and accessories.                  X
 27. Aircraft and accessories.                        X
 28. Office equipment, furnishings, and               X
     supplies.
 29. Machinery, fixtures, equipment and               X
     supplies used in business.
 30. Inventory.                                       X
 31. Animals.                                         X
 32. Crops - growing or harvested. Give               X
     particulars.
 33. Farming equipment and implements.                X
               Case 11-33044                   Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                                     Desc Main
                                                             Document     Page 11 of 52
B6B (Official Form 6B) (12/07) -- Cont.

In re   Eric Potter       Kimberly Potter                                             ,            Case No.
                                                                                                                                          (If known)
                                                             Debtors



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)




                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                           CURRENT VALUE OF
                                                                                                                                           DEBTOR'S INTEREST




                                                                                                                    OR COMMUNITY
                                                                                                                                           IN PROPERTY, WITH-
                                                                        DESCRIPTION AND LOCATION                                           OUT DEDUCTING ANY
                                                 NONE
           TYPE OF PROPERTY                                                   OF PROPERTY                                                     SECURED CLAIM
                                                                                                                                              OR EXEMPTION




 34. Farm supplies, chemicals, and feed.         X
 35. Other personal property of any kind not            Flute and Drum Set                                              J                                  600.00
     already listed. Itemize.

                                                        2    continuation sheets attached                 Total                                        $ 30,225.00

                                                                                                              (Include amounts from any continuation sheets
                                                                                                              attached. Report total also on Summary of
                                                                                                              Schedules.)
              Case 11-33044               Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                            Desc Main
                                                        Document     Page 12 of 52
B6C (Official Form 6C) (4/10)


In re   Eric Potter     Kimberly Potter                                                                 Case No.
                                                                                           ,
                                                                                                                                 (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                 Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $146,450.*
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                                VALUE OF                       CURRENT
                                                           SPECIFY LAW
                                                                                                CLAIMED                   VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION                  WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                              EXEMPTION


2002 Mitsubishi Galant                      11 USC § 522(d)(2) or 100% of fair                       3,000.00                                 3,000.00
(100,000 miles)                             market value
2007 Mitsubishi Endeavor                    11 USC § 522(d)(2) or 100% of fair                         101.43                               11,200.00
(43,000 miles)                              market value
Cash                                        11 USC § 522(d)(5) or 100% of fair                          50.00                                    50.00
                                            market value
Clothing                                    11 USC § 522(d)(3) or 100% of fair                       1,500.00                                 1,500.00
                                            market value
Flute and Drum Set                          11 USC § 522(d)(5) or 100% of fair                         600.00                                   600.00
                                            market value
Household Items                             11 USC § 522(d)(3) or 100% of fair                       5,000.00                                 5,000.00
                                            market value
necklace and earings                        11 USC § 522(d)(5) or 100% of fair                         100.00                                   100.00
                                            market value
Painting                                    11 USC § 522(d)(5) or 100% of fair                         130.00                                   130.00
                                            market value
Power kites, fishing tackle                 11 USC § 522(d)(5) or 100% of fair                         400.00                                   400.00
                                            market value
Teachers Retirement Fund                    11 USC § 522(d)(12) or 100% of                           7,000.00                                 7,000.00
                                            fair market value
Teachers Retirement Fund                    11 USC § 522(d)(12) or 100% of                             670.00                                   670.00
                                            fair market value
Wedding Rings                               11 USC § 522(d)(4) or 100% of fair                         350.00                                   350.00
                                            market value
Wells Fargo checking acct                   11 USC § 522(d)(5) or 100% of fair                         200.00                                   200.00
                                            market value
Wells Fargo savings acct                    11 USC § 522(d)(5) or 100% of fair                          25.00                                    25.00
                                            market value

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                  Case 11-33044              Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                                                                             Desc Main
                                                           Document     Page 13 of 52
B6D (Official Form 6D) (12/07)


 In re   Eric Potter     Kimberly Potter                                                                      ,
                                                                                                                          Case No.

                                                         Debtors                                                                                                          (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


               CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                                    AMOUNT OF




                                                                     HUSBAND, WIFE, JOINT
                 MAILING ADDRESS                                                                       INCURRED, NATURE                                                  CLAIM WITHOUT                UNSECURED




                                                                                                                                             UNLIQUIDATED
                                                                       OR COMMUNITY




                                                                                                                                CONTINGENT
                                                                                                                                                                                                      PORTION, IF



                                                          CODEBTOR




                                                                                                                                                            DISPUTED
             INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                                     DEDUCTING
               AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                                     VALUE OF                     ANY
              (See Instructions, Above.)                                                              VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                        SUBJECT TO LIEN


 ACCOUNT NO. xxxxxxxxxx8629                                             H                                                                                                         11,098.57                       0.00
                                                                                            Security Agreement
 Bank of America Auto Loans
                                                                                            2007 Mitsubishi Endeavor
 PO Box 15220
                                                                                            (43,000 miles)
 Wilmington, DE 19886
                                                                                            __________________________
                                                                                            VALUE $11,200.00

 ACCOUNT NO.                                                             J                                                                                                       123,744.00               81,744.00
                                                                                            Mortgage
 Bank of America Home Loans
                                                                                            The land referred to is situated
 450 American Street SV
                                                                                            in the State of Nevada, County
 Simi Valley, CA 93065
                                                                                            of Clark, City of Las Vegas, and
                                                                                            is described as follows:

                                                                                            Lot 185 of GREENBRIAR
                                                                                            TOWNHOUSES UNIT NO. 2, as
                                                                                            shown by map thereof on file in
                                                                                            Book 11 of Plats, Page 58, in the
                                                                                            Office of the County Recorder,
                                                                                            Clark County, Nevada.

                                                                                            Assessor's Parcel No.
                                                                                            161-07-315-052
                                                                                            __________________________
                                                                                            VALUE $42,000.00




 1        continuation sheets
          attached
                                                                                            Subtotal
                                                                                            (Total of this page)
                                                                                                                                                                         $       134,842.57 $             81,744.00



                                                                                            Total                                                                        $                        $
                                                                                            (Use only on last page)


                                                                                                                                                                       (Report also on Summary of (If applicable, report
                                                                                                                                                                       Schedules)                 also on Statistical
                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                  Liabilities and
                                                                                                                                                                                                  Related Data.)
                   Case 11-33044            Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                                                                             Desc Main
                                                      Document     Page 14 of 52
B6D (Official Form 6D) (12/07)- Cont.


 In re   Eric Potter      Kimberly Potter                                                                ,
                                                                                                                     Case No.

                                                    Debtors                                                                                                          (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                            (Continuation Sheet)




                                                                HUSBAND, WIFE, JOINT
                CREDITOR'S NAME AND                                                                DATE CLAIM WAS                                                    AMOUNT OF
                  MAILING ADDRESS                                                                 INCURRED, NATURE                                                  CLAIM WITHOUT               UNSECURED




                                                                                                                                        UNLIQUIDATED
                                                                  OR COMMUNITY




                                                                                                                           CONTINGENT
                                                                                                                                                                                                PORTION, IF




                                                     CODEBTOR




                                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE AND                                                                 OF LIEN, AND                                                     DEDUCTING
                AN ACCOUNT NUMBER                                                                  DESCRIPTION AND                                                     VALUE OF                    ANY
               (See Instructions, Above.)                                                        VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                   SUBJECT TO LIEN


 ACCOUNT NO.                                                        J                                                                                                        61,919.00               61,919.00
                                                                                       Second Lien on Residence
 Bank of America Home Loans
                                                                                       The land referred to is situated
 450 American Street SV
                                                                                       in the State of Nevada, County
 Simi Valley, CA 93065
                                                                                       of Clark, City of Las Vegas, and
                                                                                       is described as follows:

                                                                                       Lot 185 of GREENBRIAR
                                                                                       TOWNHOUSES UNIT NO. 2, as
                                                                                       shown by map thereof on file in
                                                                                       Book 11 of Plats, Page 58, in the
                                                                                       Office of the County Recorder,
                                                                                       Clark County, Nevada.

                                                                                       Assessor's Parcel No.
                                                                                       161-07-315-052
                                                                                       __________________________
                                                                                       VALUE $42,000.00




 Sheet no. 1 of 1 continuation                                                         Subtotal
 sheets attached to Schedule of                                                        (Total of this page)
                                                                                                                                                                    $        61,919.00 $             61,919.00
 Creditors Holding Secured
 Claims

                                                                                       Total                                                                        $       196,761.57 $           143,663.00
                                                                                       (Use only on last page)


                                                                                                                                                                  (Report also on Summary of (If applicable, report
                                                                                                                                                                  Schedules)                 also on Statistical
                                                                                                                                                                                             Summary of Certain
                                                                                                                                                                                             Liabilities and
                                                                                                                                                                                             Related Data.)
                    Case 11-33044               Doc 1         Filed 05/06/11 Entered 05/06/11 08:55:08                                 Desc Main
                                                               Document     Page 15 of 52
B6E (Official Form 6E) (4/10)

In re       Eric Potter      Kimberly Potter                                             ,                               Case No.
                                                                Debtors                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                    1 continuation sheets attached
                  Case 11-33044                 Doc 1                  Filed 05/06/11 Entered 05/06/11 08:55:08                                                                          Desc Main
                                                                        Document     Page 16 of 52
B6E (Official Form 6E) (4/10) – Cont.


In re     Eric Potter       Kimberly Potter                                                                                                                               Case No.
                                                                                                                 ,                                                                                 (If known)
                                                                    Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                (Continuation Sheet)




                                                                  HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                               DATE CLAIM WAS                                                               AMOUNT            AMOUNT          AMOUNT




                                                                    OR COMMUNITY




                                                                                                                                               UNLIQUIDATED
                                                                                                                                  CONTINGENT
              MAILING ADDRESS                                                                INCURRED AND                                                                OF CLAIM        ENTITLED TO         NOT


                                                       CODEBTOR




                                                                                                                                                              DISPUTED
            INCLUDING ZIP CODE,                                                             CONSIDERATION                                                                                 PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                  FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                         ANY



 ACCOUNT NO.
                                                                                                                                                                                                                $0.00




Sheet no. 1 of 1 continuation sheets attached to Schedule of
                                                                                                                                 Subtotals
                                                                                                                     (Totals of this page)
                                                                                                                                                                  $          0.00 $             0.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                Total
                                                                                         (Use only on last page of the completed
                                                                                         Schedule E. Report also on the Summary of
                                                                                                                                                                 $           0.00
                                                                                         Schedules.)
                                                                                                                                  Total
                                                                                         (Use only on last page of the completed                                                     $          0.00 $            0.00
                                                                                         Schedule E. If applicable, report also on the
                                                                                         Statistical Summary of Certain Liabilities
                                                                                         and Related Data. )
                Case 11-33044                  Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                                                                                    Desc Main
                                                            Document     Page 17 of 52
B6F (Official Form 6F) (12/07)

In re    Eric Potter       Kimberly Potter                                                                                                Case No.
                                                                                                                 ,
                                                           Debtors                                                                                                            (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                           AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                              CLAIM




                                                            CODEBTOR




                                                                                                                                                                                               DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.         xxx-xx-9176                                        W                                                                                                                                     30,152.00
 ACS/Student Capital Corp                                                                       Student Loan
 501 Bleeker Street
 Utica, NY 13501



ACCOUNT NO.         xx2009                                               H                                                                                                                                   11,800.00
 American Express                                                                               Credit Card
 Customer Service
 PO Box 981535
 El Paso, TX 79998-1535


ACCOUNT NO.         xxxx-xxxx-xxxx-5715                                W                                                                                                                                      9,400.00
 Bank of America                                                                                Credit Card
 Attn: Bankruptcy Dept
 PO Box 15026
 Wilmington, DE 19850


ACCOUNT NO.         xxxx-xxxx-xxxx-6170                                  H                                                                                                                                    4,400.00
 Chase                                                                                          Credit Card
 PO Box 15298
 Wilmington, DE 19850-5298



ACCOUNT NO.         xxxx-xxxx-xxxx-4227                                  H                                                                                                                                    1,300.00
 Citi Card                                                                                      Credit Card
 Attn: Bankruptcy Dept.
 PO Box 20507
 Kansas City, MO 64195


                1    Continuation sheets attached

                                                                                                                                                                Subtotal                           $         57,052.00



                                                                                                                                                                                                   $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                   Case 11-33044                 Doc 1          Filed 05/06/11 Entered 05/06/11 08:55:08                                                                                    Desc Main
                                                                 Document     Page 18 of 52
B6F (Official Form 6F) (12/07) - Cont.

In re      Eric Potter       Kimberly Potter                                                                                                   Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        xxxx-xxxx-xxxx-0455                                     W                                                                                                                                      7,400.00
 First National Bank Omaha Visa                                                                      Credit Card
 PO Box 3696
 Omaha, NE 68103-0696



 ACCOUNT NO.                                                                   J                                                                                                                                   1,800.00
 Greenbriar Townhomes Home Owners Assoc.                                                             Home Owners Association Fees
 c/o Homeowners Assoc. Services
 3513 E. Russell Road
 Las Vegas, NV 89120


 ACCOUNT NO.        xxxx3223                                                  H                                                                                                                                    1,100.00
 Kwik Trip                                                                                           Credit Card
 PO Box 1597
 LaCrosee, WI 54602



 ACCOUNT NO.        xxxx-xxxx-xxxx-8958                                       H                                                                                                                                    3,500.00
 Sears Credit Cards                                                                                  Credit Card
 PO Box 6924
 The Lakes, NV 88901-6924




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         13,800.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $          70,852.00
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
              Case 11-33044               Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                          Desc Main
                                                       Document     Page 19 of 52
B6G (Official Form 6G) (12/07)


In re:   Eric Potter     Kimberly Potter                                            ,        Case No.
                                                        Debtors                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
             Case 11-33044             Doc 1          Filed 05/06/11 Entered 05/06/11 08:55:08       Desc Main
                                                       Document     Page 20 of 52
B6H (Official Form 6H) (12/07)


In re: Eric Potter     Kimberly Potter                                        Case No.
                                                                       ,                          (If known)
                                                       Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                     NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR
                 Case 11-33044                  Doc 1   Filed 05/06/11 Entered 05/06/11 08:55:08                                  Desc Main
B6I (Official Form 6I) (12/07)                           Document     Page 21 of 52
 In re     Eric Potter Kimberly Potter                                               ,                   Case No.
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Daughter                                                                                                  4

 Employment:                                                  DEBTOR                                                         SPOUSE
 Age                                        32                                                      31
 Occupation                                Unemployed                                             Teacher
 Name of Employer                                                                                 Austin School District
 How long employed                                                                                 1 yr
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                     DEBTOR                         SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                      0.00 $                   4,863.67
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                         0.00
 3. SUBTOTAL                                                                                        $                     0.00     $                4,863.67
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                      0.00 $                       784.36
                                                                                                    $                      0.00 $                       182.02
         b. Insurance
         c. Union dues                                                                              $                      0.00 $                       103.44
         d. Other (Specify)       TRA Cord                                                           $                    0.00     $                  267.50

                                  United Funds                                                       $                    0.00     $                    10.83

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                      0.00 $                   1,348.15
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                      0.00 $                   3,515.52
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                         0.00
 8. Income from real property                                                                       $                      0.00 $                         0.00
 9. Interest and dividends                                                                          $                      0.00 $                         0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                         0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                         0.00
 12. Pension or retirement income                                                                   $                      0.00    $                      0.00
 13. Other monthly income
 (Specify)                                                                                          $                      0.00 $                         0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                     0.00    $                      0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                      0.00 $                   3,515.52
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 3,515.52
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
              Case 11-33044              Doc 1   Filed 05/06/11 Entered 05/06/11 08:55:08   Desc Main
B6I (Official Form 6I) (12/07) - Cont.            Document     Page 22 of 52
 In re   Eric Potter Kimberly Potter                             ,         Case No.
                                                      Debtors                                 (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 NONE
                Case 11-33044                    Doc 1   Filed 05/06/11 Entered 05/06/11 08:55:08                                 Desc Main
                                                          Document     Page 23 of 52
B6J (Official Form 6J) (12/07)

  In re Eric Potter Kimberly Potter                                                  ,                          Case No.
                                                          Debtors                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                   750.00
      a. Are real estate taxes included?           Yes                    No
       b. Is property insurance included?          Yes                    No
 2. Utilities: a. Electricity and heating fuel                                                                                $                  235.00
               b. Water and sewer                                                                                             $                   35.00
               c. Telephone                                                                                                   $                   50.00
               d. Other Cable & Internet                                                                                     $                   150.00
                       Cell Phone                                                                                            $                     90.00
                       Trash Bill                                                                                            $                     15.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                    75.00
 4. Food                                                                                                                      $                   600.00
 5. Clothing                                                                                                                  $                   175.00
 6. Laundry and dry cleaning                                                                                                  $                    30.00
 7. Medical and dental expenses                                                                                               $                   240.00
 8. Transportation (not including car payments)                                                                               $                   300.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                   125.00
10. Charitable contributions                                                                                                  $                    10.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                    18.00
                 b. Life                                                                                                      $                     0.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                   130.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                   304.57
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                     0.00
 15. Payments for support of additional dependents not living at your home                                                    $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                     0.00
 17. Other Monasory Preschool                                                                                                 $                     45.00
            Personal Care Products                                                                                            $                     50.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 3,427.57

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 3,515.52
           b. Average monthly expenses from Line 18 above                                                                     $                 3,427.57
           c. Monthly net income (a. minus b.)                                                                                $                    87.95
                  Case 11-33044                Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                                  Desc Main
                                                             Document     Page 24 of 52

B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                                    District of Minnesota


In re Eric Potter        Kimberly Potter                                               ,                    Case No.
                                                               Debtors
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1       $            42,000.00

 B - Personal Property                        YES                        3       $            30,225.00

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        2                                    $               196,761.57
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        2                                    $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        2                                    $                70,852.00
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                         $            3,515.52
     Individual Debtor(s)                     YES                        2

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                      $            3,427.57

                                                                      16         $            72,225.00       $           267,613.57
                                    TOTAL
              Case 11-33044               Doc 1         Filed 05/06/11 Entered 05/06/11 08:55:08                              Desc Main
                                                         Document     Page 25 of 52
Form 6 - Statistical Summary (12/07)

                                                       United States Bankruptcy Court
                                                            District of Minnesota

In re   Eric Potter    Kimberly Potter                                             ,
                                                                                                       Case No.
                                                                Debtors                                Chapter    7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $     0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $     0.00
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $     0.00
 Student Loan Obligations (from Schedule F)                                 $     30,152.00
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $     0.00
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $     0.00
                                                                TOTAL        $    30,152.00
State the following:

 Average Income (from Schedule I, Line 16)                                  $     3,515.52
 Average Expenses (from Schedule J, Line 18)                                $     3,427.57
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $     4,863.67

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $     143,663.00
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                    $     0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $     0.00
 4. Total from Schedule F                                                                          $     70,852.00
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $     214,515.00
              Case 11-33044                Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                                   Desc Main
                                                         Document     Page 26 of 52
B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Eric Potter       Kimberly Potter                                              ,                                Case No.
                                                           Debtors                                                                       (If known)


                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 5/6/2011                                                                 Signature: s/ Eric Potter
                                                                                            Eric Potter
                                                                                                                        Debtor

Date: 5/6/2011                                                                 Signature: s/ Kimberly Potter
                                                                                            Kimberly Potter
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
              Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                      Desc Main
                                                   Document     Page 27 of 52
B7 (Official Form 7) (4/10)


                                                   UNITED STATES BANKRUPTCY COURT
                                                           District of Minnesota

In re:   Eric Potter     Kimberly Potter                                                       Case No.
                                                                           ,
                                                      Debtors                                                     (If known)




                                           STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
           AMOUNT                           SOURCE                                         FISCAL YEAR PERIOD

           64,953.00                        Clark County School District                   2009

           36,303.00                        Clark County School District - Nevada          2010

           18,935.00                        Austin IDS #492                                2010

           2. Income other than from employment or operation of business
None       State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
           business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
           filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                              SOURCE                                                               FISCAL YEAR PERIOD
           8,326.00                          Unemployment                                                          2009
           18,450.00                         Unemployment                                                          2010


           3. Payments to creditors

           Complete a. or b., as appropriate, and c.
None       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
           services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
           the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
           (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
           repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
           under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
           CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
           Case 11-33044           Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                      Desc Main
                                               Document     Page 28 of 52
                                                                                                                        2

None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                    DATES OF                               AMOUNT                 AMOUNT
                                                        PAYMENTS/                              PAID OR                STILL
                                                        TRANSFERS                              VALUE OF               OWING
                                                                                               TRANSFERS




    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.


None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
        benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
        by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        NAME AND ADDRESS OF CREDITOR                    DATE OF                                 AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                      PAYMENT                                 PAID                  STILL OWING




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
        the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
        AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATIO                           DISPOSITION




None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
        NAME AND ADDRESS                                                                 DESCRIPTION
        OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY
          Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                       Desc Main
                                               Document     Page 29 of 52
                                                                                                                         3

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY

       Bank of America Home Loans                                                         42,000.00 The land referred to is
       450 American Street SV                                                             situated in the State of Nevada, County
       Simi Valley, CA 93065                                                              of Clark, City of Las Vegas, and is
                                                                                          described as follows:

                                                                                          Lot 185 of GREENBRIAR
                                                                                          TOWNHOUSES UNIT NO. 2, as shown
                                                                                          by map thereof on file in Book 11 of
                                                                                          Plats, Page 58, in the Office of the
                                                                                          County Recorder, Clark County,
                                                                                          Nevada.

                                                                                          Assessor's Parcel No. 161-07-315-052



       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT
          Case 11-33044           Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                      Desc Main
                                              Document     Page 30 of 52
                                                                                                                       4

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                  DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                 LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                     BY INSURANCE, GIVE PARTICULARS                               LOSS

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                    DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                            NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                           OTHER THAN DEBTOR              OF PROPERTY
       InCharge Education Foundation, Inc.                 4/28/2011                      $35

       M. Thomas Lenway                                    5/2011                         $1,901.00


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                     AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                    AND VALUE OF PROPERTY OR DEBTOR
                                                                                          INTEREST IN PROPERTY
          Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                      Desc Main
                                               Document     Page 31 of 52
                                                                                                                        5

       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING
       Silver State School Credit Union                  1976
       4221 South McCloud Drive                          $100.00                                     11/2010
       Las Vegas, NV 87121

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                    DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                             OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                       IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                         LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                         NAME USED                             DATES OF OCCUPANCY

       701 Greenbriar Townhouse Way                                   Eric & Kimberly Potter                  5/05--06/10
       Las Vegas, NV 89121

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME
          Case 11-33044            Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                       Desc Main
                                               Document     Page 32 of 52
                                                                                                                         6

       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                   DATE OF                   ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                    LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW


None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION
          Case 11-33044           Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                       Desc Main
                                               Document     Page 33 of 52
                                                                                                                         7

       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS                               NATURE OF
       NAME                      OR OTHER INDIVIDUAL                                                          BEGINNING AND ENDING
                                                                                          BUSINESS            DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS



                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 5/6/2011                                           Signature     s/ Eric Potter
                                                           of Debtor     Eric Potter

   Date 5/6/2011                                           Signature       s/ Kimberly Potter
                                                           of Joint Debtor Kimberly Potter
                                                           (if any)
    Case 11-33044                 Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08               Desc Main
                                               Document     Page 34 of 52
B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                                    District of Minnesota

In re                           Eric Potter   Kimberly Potter           ,           Case No.
                                          Debtors                                                    Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)


   Property No. 1

   Creditor's Name:                                               Describe Property Securing Debt:
   ACS/Student Capital Corp                                       Student Loan


   Property will be (check one):
           Surrendered                              Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 2

   Creditor's Name:                                               Describe Property Securing Debt:
   American Express                                               Credit Card


   Property will be (check one):
           Surrendered                              Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt
    Case 11-33044               Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                    Desc Main
                                          Document     Page 35 of 52
B 8 (Official Form 8) (12/08)                                                                                   Page 2


   Property No. 3

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America                                                Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 4

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America Auto Loans                                     2007 Mitsubishi Endeavor (43,000 miles)


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 5

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America Home Loans                                     The land referred to is situated in the State of
                                                                  Nevada, County of Clark, City of Las Vegas, and is
                                                                  described as follows:

                                                                  Lot 185 of GREENBRIAR TOWNHOUSES UNIT NO.
                                                                  2, as shown by map thereof on file in Book 11 of
                                                                  Plats, Page 58, in the Office of the County
                                                                  Recorder, Clark County, Nevada.

                                                                  Assessor's Parcel No. 161-07-315-052
    Case 11-33044               Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                    Desc Main
                                          Document     Page 36 of 52
B 8 (Official Form 8) (12/08)                                                                                   Page 3



   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 6

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America Home Loans                                     The land referred to is situated in the State of
                                                                  Nevada, County of Clark, City of Las Vegas, and is
                                                                  described as follows:

                                                                  Lot 185 of GREENBRIAR TOWNHOUSES UNIT NO.
                                                                  2, as shown by map thereof on file in Book 11 of
                                                                  Plats, Page 58, in the Office of the County
                                                                  Recorder, Clark County, Nevada.

                                                                  Assessor's Parcel No. 161-07-315-052

   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 7

   Creditor's Name:                                               Describe Property Securing Debt:
   Chase                                                          Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))
    Case 11-33044               Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                    Desc Main
                                          Document     Page 37 of 52
B 8 (Official Form 8) (12/08)                                                                               Page 4




   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 8

   Creditor's Name:                                               Describe Property Securing Debt:
   Citi Card                                                      Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 9

   Creditor's Name:                                               Describe Property Securing Debt:
   First National Bank Omaha Visa                                 Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 10

   Creditor's Name:                                               Describe Property Securing Debt:
   Greenbriar Townhomes Home Owners Assoc.                        Home Owners Association Fees
    Case 11-33044               Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                    Desc Main
                                          Document     Page 38 of 52
B 8 (Official Form 8) (12/08)                                                                               Page 5



   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 11

   Creditor's Name:                                               Describe Property Securing Debt:
   Kwik Trip                                                      Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 12

   Creditor's Name:                                               Describe Property Securing Debt:
   Sears Credit Cards                                             Credit Card


   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt
    Case 11-33044               Doc 1   Filed 05/06/11 Entered 05/06/11 08:55:08                     Desc Main
                                         Document     Page 39 of 52
B 8 (Official Form 8) (12/08)                                                                                   Page 6



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)


   Property No. 1

   Lessor's Name:                           Describe Leased Property:                  Lease will be Assumed pursuant
                                                                                       to 11 U.S.C. § 365(p)(2):
   None
                                                                                           YES            NO



   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 5/6/2011                                             s/ Eric Potter
                                                           Eric Potter
                                                           Signature of Debtor

                                                           s/ Kimberly Potter
                                                           Kimberly Potter
                                                           Signature of Joint Debtor (if any)
            Case 11-33044             Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                             Desc Main
                                                   Document     Page 40 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)

                                                                            According to the information required to be entered on this
                                                                            statement (check one box as directed in Part I, III, or VI of this
In re   Eric Potter, Kimberly Potter                                        statement):
                   Debtor(s)                                                     The presumption arises

Case Number:                                                                     The presumption does not arise
                   (If known)                                                    The presumption is temporarily inapplicable.


                                CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                          AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).

                                      Part I. MILITARY AND NON-CONSUMER DEBTORS

         Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
         beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
             Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
         veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active
         duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C.
         §901(1)).
         Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
  1B     verification in Part VIII. Do not complete any of the remaining parts of this statement.

              Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.


         Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve
         component of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10
         U.S.C. § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense
         activity (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing
         during the time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you
         qualify for this temporary exclusion, (1) check the appropriate boxes and complete any required information in the
         Declaration of Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily
         inapplicable” at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period
         you are not required to complete the balance of this form, but you must complete the form no later than 14 days
         after the date on which your exclusion period ends, unless the time for filing a motion raising the means test
         presumption expires in your case before your exclusion period ends.

  1C         Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
         below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
         component of the Armed Forces or the National Guard


                      a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                       I remain on active duty /or/
                                      I was released from active duty on ________________, which is less than 540 days before this
                                      bankruptcy case was filed;
                                   OR
                      b.        I am performing homeland defense activity for a period of at least 90 days /or/
                                I performed homeland defense activity for a period of at least 90 days, terminating on
                                _______________, which is less than 540 days before this bankruptcy case was filed.


                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Case 11-33044            Doc 1          Filed 05/06/11 Entered 05/06/11 08:55:08               Desc Main
                                                       Document     Page 41 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                           2

       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.       Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
  2             Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.       Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.       Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income")
       for      Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived during the        Column A        Column B
       six calendar months prior to filing the bankruptcy case, ending on the last day of the month          Debtor's       Spouse's
       before the filing. If the amount of monthly income varied during the six months, you must             Income          Income
       divide the six-month total by six, and enter the result on the appropriate line.

  3    Gross wages, salary, tips, bonuses, overtime, commissions.                                       $ 0.00          $4,863.67
       Income from the operation of a business, profession or farm. Subtract Line b from
  4    Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on an
       attachment. Do not enter a number less than zero. Do not include any part of the business
       expenses entered on Line b as a deduction in Part V.
         a.     Gross Receipts                                            $ 0.00
         b.     Ordinary and necessary business expenses                  $ 0.00
         c.     Business income                                           Subtract Line b from Line a   $ 0.00          $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the difference
       in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not
       include any part of the operating expenses entered on Line b as a deduction in Part V.

  5      a.     Gross Receipts                                            $ 0.00
         b.     Ordinary and necessary operating expenses                 $ 0.00
                                                                                                        $ 0.00          $0.00
         c.     Rent and other real property income                       Subtract Line b from Line a

  6    Interest, dividends, and royalties.                                                              $ 0.00          $0.00

  7    Pension and retirement income.                                                                   $ 0.00          $0.00
  8    Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor’s dependents, including child support paid for              $ 0.00          $0.00
       that purpose. Do not include alimony or separate maintenance payments or amounts paid
       by your spouse if Column B is completed. Each regular payment should be reported in only
       one column; if a payment is listed in Column A, do not report that payment in Column B.

       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act         Debtor $         Spouse $                   $               $

       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
  10   alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or as
       a victim of international or domestic terrorism.
           Case 11-33044                 Doc 1         Filed 05/06/11 Entered 05/06/11 08:55:08                                  Desc Main
                                                        Document     Page 42 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                              3




         a.                                                                            $
       Total and enter on Line 10.                                                                                             $ 0.00       $0.00

       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
  11                                                                                                                           $ 0.00       $4,863.67
       and, if Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).

       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
       11, Column A to Line 11, Column B, and enter the total. If Column B has not been                                        $ 4,863.67
  12
       completed, enter the amount from Line 11, Column A.

                                          Part III. APPLICATION OF § 707(b)(7) EXCLUSION

       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and enter
  13   the result.                                                                                                                          $ 58,364.04

       Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14   information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                            $74,082.00
       a. Enter debtor’s state of residence:    MN                                 b. Enter debtor’s household size:     3

       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
              The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).




                       Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16   Enter the amount from Line 12.                                                                                                       $

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
  17
        Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
        debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
        payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
        dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
        on a separate page. If you did not check box at Line 2.c, enter zero.

            a.                                                                                    $

         Total and enter on Line 17 .                                                                                                       $

  18   Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                          $

                                     Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
19A     National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
        number of persons is the number that would currently be allowed as exemptions on your federal income tax
        return, plus the number of any additional dependents whom you support.
                                                                                                                                            $
              Case 11-33044          Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                     Desc Main
                                                  Document     Page 43 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                              4

       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
19B    Outof- Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
       Outof- Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
       persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
       years of age or older. (The applicable number of persons in each age category is the number in that
       category that would currently be allowed as exemptions on your federal income tax return, plus the number
       of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
       persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
       persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 19B.
         Persons under 65 years of age                      Persons 65 years of age or older
         a1.   Allowance per person                                  a2.     Allowance per person
         b1. Number of persons                                       b2.     Number of persons

         c1.   Subtotal                                              c2.     Subtotal
                                                                                                                      $

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
        and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information
20A
        is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
        consists of the number that would currently be allowed as exemptions on your federal income tax return,
        plus the number of any additional dependents whom you support.                                                $

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
20B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court)(the applicable
        family size consists of the number that would currently be allowed as exemptions on your federal income
        tax return, plus the number of any additional dependents whom you support); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
         a.      IRS Housing and Utilities Standards; mortgage/rental expense   $
         b.      Average Monthly Payment for any debts secured by home, if      $
                 any, as stated in Line 42.
         c.      Net mortgage/rental expense                                    Subtract Line b from Line a           $

       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:
                                                                                                                      $



       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.          0       1       2 or more.
22A
       If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS         $
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)
        Local Standards: transportation; additional public transportation expense. If you pay the operating
22B     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
        additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
        the clerk of the bankruptcy court.)                                                                           $
              Case 11-33044               Doc 1    Filed 05/06/11 Entered 05/06/11 08:55:08                    Desc Main
                                                    Document     Page 44 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                5

       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
       than two vehicles.)
               1        2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
23     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.

         a.        IRS Transportation Standards, Ownership Costs                 $
         b.        Average Monthly Payment for any debts secured by Vehicle 1,
                   as stated in Line 42.                                         $
         c.        Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a            $


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
24      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
        Line a and enter the result in Line 24. Do not enter an amount less than zero.
         a.        IRS Transportation Standards, Ownership Costs                 $
         b.        Average Monthly Payment for any debts secured by Vehicle 2,   $
                   as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a            $

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                                     $
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
26     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                  $
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
27                                                                                                                   $
       whole life or for any other form of insurance.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
28                                                                                                                      $
       payments. Do not include payments on past due obligations included in Line 44.

       Other Necessary Expenses: education for employment or for a physically or mentally challenged
       child. Enter the total average monthly amount that you actually expend for education that is a condition of
29     employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                   $
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.                                                                                                   $
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
31     on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
       Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34. $
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
32     you actually pay for telecommunication services other than your basic home telephone and cell phone
       service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
       necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                        $
       deducted.
33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                              $
                                            Subpart B: Additional Living Expense Deductions
             Case 11-33044               Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                              Desc Main
                                                      Document     Page 45 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                      6

                               Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
         expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
         spouse, or your dependents.
           a.     Health Insurance                                   $
 34
           b.     Disability Insurance                               $
           c.     Health Savings Account                             $

                                                                                                                                         $
         Total and enter on Line 34
         If you do not actually expend this total amount, state your actual total average monthly expenditures in
         the space below:
         $

         Continued contributions to the care of household or family members. Enter the total average actual
         monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35      elderly, chronically ill, or disabled member of your household or member of your immediate family who is                        $
         unable to pay for such expenses.
         Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 36      you actually incurred to maintain the safety of your family under the Family Violence Prevention and                            $
         Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
         by the court.
         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
         Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
 37                                                                                                                                      $
         provide your case trustee with documentation of your actual expenses, and you must demonstrate
         that the additional amount claimed is reasonable and necessary.
         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case
         trustee with documentation of your actual expenses, and you must explain why the amount claimed                                 $
         is reasonable and necessary and not already accounted for in the IRS Standards.
         Additional food and clothing expense. Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
 39      National Standards, not to exceed 5% of those combined allowances. (This information is available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
         amount claimed is reasonable and necessary.                                                                                     $

          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
 40       financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                    $


 41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                    $

                                                  Subpart C: Deductions for Debt Payment

          Future payments on secured claims. For each of your debts that is secured by an interest in property that
          you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
          Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
          total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
          filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
 42       the total of the Average Monthly Payments on Line 42.
                       Name of           Property Securing the Debt             Average                     Does payment
                       Creditor                                                 Monthly                     include taxes
                                                                                Payment                     or insurance?
           a.                                                            $                                yes       no
                                                                                                    Total: Add Lines a, b and c          $



* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 11-33044                 Doc 1         Filed 05/06/11 Entered 05/06/11 08:55:08                                  Desc Main
                                                           Document     Page 46 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                            7


         Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
         amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 43      List and total any such amounts in the following chart. If necessary, list additional entries on a separate
         page.
                       Name of Creditor                 Property Securing the Debt          1/60th of the Cure Amount

                                                                                                           Total: Add Lines a, b and c          $
         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy                            $
         filing. Do not include current obligations, such as those set out in Line 28.

          Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
          following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
          expense.
            a.    Projected average monthly Chapter 13 plan payment.                        $
            b.    Current multiplier for your district as determined under schedules issued
 45                 by the Executive Office for United States Trustees. (This information is
                    available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                    court.)                                                                            x
            c.      Average monthly administrative expense of Chapter 13 case
                                                                                                        Total: Multiply Lines a and b           $

 46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                            $

                                                      Subpart D: Total Deductions from Income

 47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                               $



                                       Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $
 49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $
 50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                                       $

          60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
 51       result.
                                                                                                                                                $

          Initial presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than $7,025* Check the box for “The presumption does not arise” at the top of page 1 of this
                 statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52              The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of page 1 of this
                 statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                 The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53
                 through 55).

 53       Enter the amount of your total non-priority unsecured debt                                                                            $
 54       Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                $

          Secondary presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
 55              page 1 of this statement, and complete the verification in Part VIII.
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
                 the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
          Case 11-33044            Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                                Document     Page 47 of 52
B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                            8


                                         Part VII. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
       health and welfare of you and your family and that you contend should be an additional deduction from your current
       monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should
       reflect your average monthly expense for each item. Total the expenses.
56
                                         Expense Description                                       Monthly Amount
                                                           Total: Add Lines a, b, and c   $

                                                    Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)
  57            Date: 5/6/2011                               Signature: s/ Eric Potter
                                                                         Eric Potter, (Debtor)

                Date: 5/6/2011                                 Signature: s/ Kimberly Potter
                                                                          Kimberly Potter, (Joint Debtor, if any)
   Case 11-33044           Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                       Desc Main
                                       Document     Page 48 of 52
                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA


     In re   Eric Potter                                                   Case No.
             Kimberly Potter
             Debtors.                                                      Chapter       7


                                  STATEMENT OF MONTHLY NET INCOME


The undersigned certifies the following is the debtor's monthly income .

Income:                             Debtor                                            Joint Debtor
Six months ago                    $ 3,218.30                                          $ 0.00
Five months ago                   $ 3,218.30                                          $ 0.00
Four months ago                   $ 3,245.00                                          $ 0.00
Three months ago                  $ 3,245.00                                          $ 0.00
Two months ago                    $ 5,099.39                                          $ 0.00
Last month                        $ 3,245.07                                          $ 0.00
Income from other sources         $ 0.00                                              $ 0.00
Total net income for six          $ 21,271.06                                         $ 0.00
months preceding filing

Average Monthly Net               $ 3,545.18                                          $ 0.00
Income


        Attached are all payment advices received by the undersigned debtor prior to the petition date, we declare
under penalty of perjury that we have read the foregoing statement and that it is true and correct to the best of our
knowledge, information, and belief.

Dated: 5/6/2011

                                                           s/ Eric Potter
                                                           Eric Potter
                                                                                 Debtor


                                                           s/ Kimberly Potter
                                                           Kimberly Potter
                                                                              Joint Debtor
       Case 11-33044            Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                       Desc Main
                                             Document     Page 49 of 52
B 201A (Form 201A) (12/09)

    WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
       Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA


                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.

          Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
    Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

           Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
           Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
           The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
           Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.
           Case 11-33044            Doc 1      Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                                Document     Page 50 of 52
   Form B 201A, Notice to Consumer Debtor(s)                                                                            Page 2

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of
   their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
   amounts set forth in the Bankruptcy Code.
             Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
   them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
   depending upon your income and other factors. The court must approve your plan before it can take effect.
             After completing the payments under your plan, your debts are generally discharged except for domestic support
   obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
   properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
   secured obligations.
        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
             Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
    are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
    future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
    income arises primarily from a family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
    perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
    information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
    acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
    employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
    creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
    this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

    Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
    require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13
    plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
        Case 11-33044              Doc 1        Filed 05/06/11 Entered 05/06/11 08:55:08                               Desc Main
                                                 Document     Page 51 of 52
B 201B (Form 201B) (12/09)


                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF MINNESOTA



In re Eric Potter                                                                         Case No.
      Kimberly Potter
                                   Debtor                                                 Chapter        7


                        CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                            UNDER § 342(b) OF THE BANKRUPTCY CODE



                                                       Certificate of the Debtor
    We, the debtors, affirm that we have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Eric Potter                                                       Xs/ Eric Potter                                        5/6/2011
                                                                   Eric Potter
Kimberly Potter
                                                                    Signature of Debtor                                       Date
Printed Name(s) of Debtor(s)
                                                                  X s/ Kimberly Potter                                   5/6/2011
Case No. (if known)                                                 Kimberly Potter
                                                                    Signature of Joint Debtor                                 Date




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
              Case 11-33044         Doc 1       Filed 05/06/11 Entered 05/06/11 08:55:08                        Desc Main
                                                 Document     Page 52 of 52
      Form 1007-1 - Statement Of Compensation By Debtor's Attorney
                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MINNESOTA

     In re:

     Eric Potter
     Kimberly Potter                                             ,                          Case No. BKY
                              Debtor(s).                                                    Chapter       7   Case


                       STATEMENT OF COMPENSATION BY ATTORNEY FOR DEBTOR(S)
     The undersigned, pursuant to Local Rule 1007-1, Bankruptcy Rule 2016(b) and § 329(a) of the Bankruptcy Code, states that:
                  1.    The undersigned is the attorney for the debtor(s) in this case and files this statement as required by
                  applicable

                  2.     (a) The filing fee paid by the undersigned to the clerk for the debtor(s) in
                                                                                                      $                      299.00
                         this case is:

                        (b) The compensation paid or agreed to be paid by the debtor(s) to the
                        undersigned is:                                                               $                    1,901.00

                        (c) Prior to filing this statement, the debtor(s) paid to the undersigned:    $                   1,901.00

                        (d) The unpaid balance due and payable by the debtor(s) to the
                        undersigned is:                                                               $                          0.00

     3.         The services rendered or to be rendered include the following: (a) analysis of the financial situation and
     rendering advice and assistance to the debtor in determining whether to file a petition under Title 11 of the United States
     Code; (b) preparation and filing of the petition, exhibits, attachments, schedules, statements and lists and other documents
     required by the court; (c) representation of the debtor(s) at the meeting of creditors; (d) negotiations with creditors; and (e)
     other services reasonably necessary to represent the debtor(s) in this case.
     4.        The source of all payments by the debtor(s) to the undersigned was or will be from earnings or other current
     compensation of the debtor(s), and the undersigned has not received and will not receive any transfer of property other
     than such payments by the debtor(s), except as follows:




     5.        The undersigned has not shared or agreed to share with any other person other than with members of
     undersigned's law firm any compensation paid or to be paid.




Dated: 5/6/2011                                                         Signed:    /e/ M. Thomas Lenway
                                                                                   M. Thomas Lenway
                                                                                   Bar no: 259214
                                                                                   Attorney for Debtor(s)
                                                                                   Plunkett & Associates, Inc.
                                                                                   107 West Oakland Avenue
                                                                                   Austin, MN 55912
                                                                                   (507) 437-2845
LOCAL RULE REFERENCE: 1007-1
